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VIA ECF

Honorable Loretta Preska
United States District Judge
Daniel Patrick Moynihan U.S. Courthouse
500 Pearl Street
New York, New York 10007

  RE:     Chevron v. Donziger, Case No. 19 Cr. 561 (LAP)

Dear Judge Preska:

       The discovery we seek is limited to the issues that are the subject of the motion. We wish
discovery, books, records, and deposition of individuals in the interests of justice concerning:

        1. All of the facts relating to the invocation of Fed. R. Crim. P. 42 both in this district and
           in the United States from the appropriate Court Administrator in the Southern District.

        2. Any and all records and individuals from the United States Attorney’s Office and
           private parties including Gibson Dunn and Chevron concerning the 2010 meetings
           referred to in the WSJ article of May 3, 2021, and any other such meetings concerning
           the prosecution of Mr. Donziger.

        3. Geoffrey Berman.

        4. The managing partners at Gibson Dunn and Seward & Kissel for any and all records
           related to the involvement of Seward & Kissel, the firm’s fee structure in this case, and
           how it was arrived at.

        5. All records and individuals relating to the marketing by Gibson Dunn and Seward &
           Kissel that relates in any way to this prosecution, including members of the firms and
           any other firms, including public relations firms.

Judge Kaplan has asserted the authority to avoid random selection of a presiding judge when he
initiated this proceeding and instead make a personal selection. Apart from the merits of that claim,
which has been disputed, it is clear that Judge Kaplan cannot make an unconstitutional selection.
There are constitutional limitation on his freedom to appoint. We wish to know all facts relating
to that appointment. It is not enough to say that Judge Preska sat across the hall. We believe the
facts behind his selection are obvious.
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Hon. Loretta A. Preska
May 5, 2021
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                                         Respectfully,

                                             /s
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